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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE

UNITED STATES OF AMERICA                                                               PLAINTIFF


v.                                                    CRIMINAL ACTION NO. 3:23-CR-55-DJH


JOHN ANTHONY SCHMIDT                                                                 DEFENDANT


                                     PROTECTIVE ORDER
        Having considered the United States’ Motion for a Protective Order and being otherwise

sufficiently advised,

        IT IS ORDERED that with regard to all documents, records and information exchanged

between the parties for purposes of discovery in this case which contain financial account

numbers; social security or taxpayer identification numbers; date of birth; driver’s license

numbers; home addresses; and any other personally identifying information, the respective

parties shall:

        1. Keep all documents and records that disclose such information in a secure place to
           which no person who does not have reason to know their contents has access; and,

        2. Disclose such documents, records, or information only to persons identified below
           who, by reason of their participation in this proceeding, have reason to know such
           information:

                 a. All employees of the United States connected with the case, including
                    employees of the Department of Justice, and federal law enforcement agencies
                    involved in the case, and any person hired by the United States to provide
                    assistance in the proceeding;

                 b. Employees of the court; and,

                 c. The defendant and employees of the defendant, including the attorneys for the
                    defendant and persons hired by the defendant or his attorneys to assist on this
                    case.

This Protective Order is subject to further orders of this Court.
